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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH, et al.,
                       Plaintiffs,
     v.
                                                       Civil Action No. 1:21-CV-02265-APM
DONALD J. TRUMP, et al.,

                       Defendants.



                 [PROPOSED] ORDER DENYING MOTION TO DISMISS


       This matter having come before this Court on this ____ day of ____________, 2023, on

Defendant Brandon Straka’s Special Motion to Dismiss Under 28 U.S.C. § 1367 (ECF No. 206)

and this Court having considered said Motion and Incorporated Memorandum of Law and

Plaintiffs’ Opposition thereto, and being otherwise fully advised, it is hereby:


       ORDERED AND ADJUDGED that Defendant Brandon Straka’s Motion to Dismiss is

DENIED.


                                                      _____________________________________
                                                                    Amit P. Mehta
                                                           United States District Court Judge
